       Case 1-18-47256-cec            Doc 82       Filed 07/10/19     Entered 07/10/19 14:40:49




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re                                                               Chapter 11

        4921 12th Avenue LLC,                                       Case no. 18-47256

                                    Debtor.
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4921 12th Avenue LLC,

                                   Plaintiff,

-against-                                                           Adv. Proc. 19-01030

Galster Funding, LLC,

                                    Defendant.
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                                        AFFIDAVIT OF SERVICE

        Mark Frankel, being duly affirmed, deposes and says: I am over the age of eighteen years,
I reside in Nassau County, I am not a party herein, and on the 12th day of June, 2019, I caused to
be served a true copy of the Notice of Presentment and Proposed Order, upon the interested parties
listed below, at the email addresses listed below, by email.

Joseph Balisok
balisoklawyers@gmail.com

David Fiveson
dfiveson@bffmlaw.com

Alla Kachan
alla@kachanlaw.com


                                                                    s/ Mark Frankel

Affirmed before me this 10th
Day of July, 2019

s/Scott Krinsky
Notary Public
